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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Western District of Tennessee

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                                                     167 North Main Street            Fax 901.544.4230
                                                     Memphis, Tennessee 38103         TTY 901.544.3054


October 13, 2023

Leslie Ballin
Law Offices of Ballin, Ballin, & Fishman, P.C.
200 Jefferson Avenue, Suite 200
Memphis, TN 38103


       RE:    United States v. Ashley Grayson et. al.
              2:23-cr-20121-JPM


Dear Mr. Ballin,

       Pursuant to the Federal Rules of Criminal Procedure, the Government has provided
discovery in the Ashley Grayson case. Please be advised as follows:

       1.     As to Rule 16 of the Federal Rules of Criminal Procedure, I have enclosed a copy
              of the discovery consisting of Bates numbered documents 0001-0235, including,
              but not limited to: An ATF Report of Investigation, FBI Request to open case and
              synopsis, FBI Guardian Complaint Form and enclosure, FBI Record of Interview:
              Sherell Hodge, two FBI Record of the collection of a Southaven Police Report,
              Search Warrant for Olivia Johnson’s cellular phone, FBI Evidence data-loading
              form, FBI records of investigation (multiple Forms 302), Search Warrants for
              Olivia Johnson’s and Ashley Grayson’s Facebook accounts, FBI report regarding
              the interviews of Patrick Tate, Derricka Harwell, Olivia Johnson, Sherrell Hodge,
              other FBI reports regarding the interview of witnesses, and an FBI report
              memorializing the download of Olivia Johnson’ cellphone.

       2.     Electronic discovery comes in the form of a 9/10/22 FaceTime call, a Patrick Tate
              phone conversation, Olivia Johnson’s cell phone search warrant return, contact with
              the Southaven Police Department, Facebook search warrant returns, recording of a
              phone conversation with Sherrell Hodge, recording of a phone conversation with
              Aquanette Tyson, surveillance video of 3039 Nowitzki Way, pictures of 7292 3
              Sisters Lane, and social media posts / videos. All of this discovery is uploaded to
              USAfx except the download of Olivia Johnson’s cell phone, which will be provided
              via attorney furnished hard drive.


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       3.      The United States is cognizant of its obligation under Brady v. Maryland.

       4.      The United States requests any and all reciprocal discovery and notice to which it
               is entitled pursuant to Rule 16 and the local rules.

       If you have any questions or would like to discuss this matter further, please feel free to
contact me.

                                                    Sincerely,

                                                    Kevin G. Ritz
                                                    United States Attorney

                                             By:    /s P. Neal Oldham
                                                    P. Neal Oldham
                                                    Assistant United States Attorney


Enclosures

cc:    Wendy R. Oliver, Clerk,
       United States District Court




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